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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                 No. 4:12CR00306-015 KGB

STEVEN LYNN GOODMAN                                                               DEFENDANT

                                            ORDER

       On June 28, 2013, defendant Steven Lynn Goodman filed his Motion to Continue his change

of plea hearing (Dkt. No. 317). The motion recites that the Assistant United States Attorney could

not be reached regarding the request for continuance.

       For good cause shown, this matter is removed from this Court’s calendar and will be reset

by amended notice.

       SO ORDERED this 1st day of July, 2013.



                                                    ____________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
